UNITED S'I`ATES DISTRICT COURT
EASTERN DIST_RICT {)F LOUISIANA

 

VIVIAN PATZ and MICHAEL PATZ,

Plaintiffs, Civil Action No.: 2:17-cv-03465
v.

Judge Susie Morgan
SUREWAY SUPERMARKET, et al. 1
Magistrate Janis Van Meerveld

Defendants.

 

ANSWERS TO PLAINTIFFS’ FIRST SE'I` OF INTERROGATORIES
TO SHH PROPERTIES, L.L.C.

NOW INTO COURT, through undersigned counsei, comes Defendant, SHH Properties,
LLC., Who responds to Plaintift’s First Set of Interrogatories propounded to SHl-I Properties,

LLC by Vivian Patz and Michael Patz as follows:

GENERAL OBJECTIONS

These responses have been prepared based on a reasonable and diligent search for the
information and documents requested by Defendant. Some interrogatories are overly broad in
nature and time frame, thus to the extent the requests are overly broad, they are objected to
because responding Would impose an undue burden and expense on Defendant. Additionally,
Defendant objects to any requests Which encompass documents or information Which may fall
within the scope of the attorney client privilege, the Work product doctrine, or other applicable
privilege Defendant further objects to the extent the requests seek confldentiai, proprietary or
sensitive business, commercial, employee, subcontractor, and/or customer information
Defendant further objects to the requests to the extent they are premature, vague and/or
ambiguous Finally, Det`endant reserves the right to supplement and amend these responses;
discovery is not complete and the parties have not fully prepared for triai.

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INTERROGATORY No. 1

Identify the landlord of the employer~provided housing provided to Plaintit`t`s.
ANSWER TO INTERROGATORY No. 1

The owner of 102 Cornmunity Lane, Grand Isle, LA and 176 Naccari Lane, Grand lsle,
LA is SHH Properties, LLC (hereinafter SHH). The housing is provided to employees of Walter
H. Maples, lnc. dba SureWay Supermarl<et (hereinafter “Sureway”).

INTERROGATORY No. 2

What process do Defendants use for rental applications and agreements for employer-
provided housing?

ANSWER TO INTERR()GATORY No. 2

There are no Written rental applications or agreements
INTERROGATORY No. 3

HoW much did Defendants charge Vivian for rent?
ANSWER TO INTERROGATORY No. 3

The cost of the employee provided housing is based on annual utilities, insurance and
maintenance At the time relevant to this matter, the amount allocated to the two bedroom
apartment assigned to Defendants Was $650 per month. Thus Vivian Was responsible for $325
per month, Which breaks down to $31.25 Weekly.
INTERROGATORY No. 4

Do Defendants only rent housing to their employees?
ANSWER TO INTERROGATORY No. 4

SHH only allows Sureway employees and their family to reside at the properties it owns.
INTERROGATORY No. 5

What proportion of Defendants’ rented housing is rented to Defendants’ employees?

ANSWER 'I`O INTERROGATORY No. 5

100% of the units are used for employor provided housing.

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INTERROGATORY No. 6

Identify all tenant-employees in Defendants’ employer-provided housing Who, Within the
last five years, remained in the housing after being terminated or quitting.

ANSWER TO INTERROGATORY No. 6

None.
INTERROGATORY No. 7

Wliat is the name of the property that Defendants rented to Vivian?
ANSWER TO INTERROGATORY No. 7

lt does not have a name, but the most recent unit assigned to Vivian Was 176 Naccari
Lane, Unit l.

INTERROGATORY No. 8
l When Was the housing rented by Defendants to Vivian built?
ANSWER TO INTERROGATORY No. 8
The prior housing located at 102 Commnnity Lane assigned to Vivian Was built in
approximately 2004. Defendants do not have the specific year the housing most recently

assigned located at 176 Naccari Lane was built; however, it Was substantially renovated and
remodeled from a single to a double sometime after 2007.

INTERROGATORY No. 9

Defendants assert in Paragraphs 5 and 24 of their Answer that Plaintiffs left the apartment
voluntarily; on What factual basis do they make that assertion?

ANSWER 'I`O INTERROGATORY No. 9

When Denise Esponge Went to the unit to provide the 5 day notice to vacate, the unit had
Was empty and Plaintii`fs had removed all their belongings

INTERROGATORY No. 10

ldentify the members of SHH Properties, L.L.C.

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ANSWER TO INTERROGATORY No. 10

Shelly M. Jambon, Harley Landry, and Holden Landry.

Respectfully submitted,
Stephenson, Chavarri & Lambert, LLC

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CERTIFICATE OF SERVICE

l hereby certify that a copy of the above and foregoing pleading has been duly served on
all counsel of record by electronic mail and by placing a copy of same in the United States Mail,
postage prepaid on this;?’@W day of November 2017.

////Z/“`

SEAN R. DAWS ON

 

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